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                                                                                                       United States District Court
                                                                                                           Southern District of Texas

                                                                                                              ENTERED
                                     UNITED STATES DISTRICT COURT                                          January 15, 2024
                                      SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                        CORPUS CHRISTI DIVISION



M.D. bnf STUKENBERG                                         §
                                                            §
v.                                                          §                                  No. 2:11-CV-00084
                                                            §
GREG ABBOTT                                                 §


                                                        ORDER

     Defendants Cecile Erwin Young and Stephanie Muth shall bring to the hearing set on Monday,

January 22, 2024 (see D.E. 1485), any and all documents related to studies or plans to implement

the recommendations in the Expert Panel Report on children without licensed placement (D.E.

1166), including, but not limited to, the following:

     1. Any and all documents demonstrating set(s) of shared values and principles referenced in

            “Follow Up to HHSC-DFPS Response to Expert Panel Recommendations” (all subsequent

            requests refer to this document).1

     2. Any and all minutes from each interagency meeting referenced in the second response.

     3. Any and all workflow documents referenced in the response as to the interagency team.

     4. Any and all documents demonstrating “lead and lag measures” developed for clinical

            coordinators regarding youth in unlicensed placements, and any and all documents related

            to the State’s performance based on the lead and lag measures they created.

     5. Any and all documents described as completed by DFPS as an analysis and report of out

            of state placements.




     1
         For the convenience of the parties, a copy of this document is attached hereto as Attachment A.

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6. Any and all documents created by DFPS Community Liaison to the 4 regions that have the

   highest number of children without licensed placement.

7. Any and all documents created by or for the Deckinga Group for technical assistance in

   areas identified in the Report including, but not limited to, any and all documents reporting

   results in these areas.

8. Any and all documents related to the creation and ongoing function of the state interagency

   plan expanding the Turning Point Program to additional counties with the greatest need.

9. Any and all documents reflecting results of funding request(s) for a pool of funds in each

   region that can be accessed quickly for trauma informed services and supports to families,

   kin caregivers and foster parents beyond traditional outpatient therapies. Include any and

   all documents used to create the amount requested.

10. Any and all documents evidencing the development of a plan for increasing the availability

   of treatment foster care. Documentation of any results of providers’ applications for TFFC

   open enrollment, including any costs and benefits analysis.

11. Any and all documents reflecting requests for increased resources to provide three new “in-

   lieu-of services,” including applications for expansion of capacity.

12. Any and all documents describing changes to “YES Waiver” referenced, and any and all

   documents describing the results and use of this program.

13. Any and all documents demonstrating additional providers added since the increase of

   daily rates for the RTC Project, and any and all documents demonstrating request(s) by

   HHSC for increased funding to support development of a database for the RTC Project.

14. Any and all documents related to HHSC’s feasibility study of the Expert Panel’s MCOT

   recommendation, and any and all documents related to the decision not to move forward.



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15. Any and all documents related to efforts to implement the federal “Family First Prevention

   Services Act,” including any and all documents relating to those Texas-based providers

   licensed as “QRTPs.” Any and all documents regarding applicants selected and the results

   of these programs.

16. Any and all documents related to recruiting and contracting for targeted placement options

   that meet the specific needs of children at risk of being in unlicensed placement, including

   any and all documents demonstrating an increase of TEP, TLP, IPSP, and any additional

   options under consideration.

17. Any and all documents demonstrating ongoing MCOs’ plans to begin offering “three in-

   lieu-of services,” including results and the number of PMC children reached.

18. Any and all documents involving the establishment of DFPS and HHSC’s accelerated

   “Foster Care Modernization Project,” including those documents demonstrating the results

   of this program as well as the number of PMC children reached, and further including

   documents demonstrating the “new methodology.”

19. Any and all documents demonstrating the results of the $31.2 million appropriated for the

   agency’s behavioral health requests. This includes any and all documents allocating these

   funds, as well as the use and effectiveness of these funds.

20. Any documents demonstrating any attempt by DFPS and HHSC to increase the per diem

   of kinship placement. This order includes any and all documents demonstrating efforts to

   improve kinship care, including collaboration with community partners.

21. Any and all documents demonstrating consultations with other state agencies regarding the

   use of “family group conferencing,” as well as community providers.




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22. Any and all documents evidencing the creation of an action plan to expand engagement

   and co-creation efforts with individuals with lived experience. This order includes any and

   all documents demonstrating the results of these efforts, as well as the number of PMC

   children affected.



 SIGNED and ORDERED this 15th day of January, 2024.




                                              ________________________________________
                                              JANIS GRAHAM JACK
                                              SENIOR UNITED STATES DISTRICT JUDGE




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                     ATTACHMENT A
                                                                                                                                             Follow Up to HHSC-DFPS Response to Expert Panel Recommendations
                                                                                                              Recommendation Referenced in February 2022 Joint                    Responsible
                                                                              Recommendations                                                                                                   Status                                            Detailed Status
                                                                                                                        Response by HHSC/DFPS                                       Agency
                                                                                                         The leadership of DFPS and HHSC should immediately adopt and
                                                                                                                                                                                                           The Commissioners of DFPS and HHSC created a set of shared values and principles and
                                                                          Develop guiding principles.    apply a set of shared values and principles to all work with children    DFPS/HHSC     Complete
                                                                                                                                                                                                           shared with the Court Monitors.
                                                                                                         and families. (Recommendation 1)
                                                                                                         Assign a single high-level leadership position from DFPS to lead a
                                                                                                                                                                                                           HHSC and DFPS executive leadership meet regularly for state interagency coordination. An
                                                                                                         dedicated state interagency team to be accountable for the
                                                                                                                                                                                     DFPS       Complete   interagency team was also formed that includes representatives from HHSC and DFPS.
                                                                                                         elimination of children being placed in unlicensed care.
                                                                                                                                                                                                           Deputy Commissioner serves as DFPS lead.
                                                                                                         (Recommendation 2)
                                                                                                                                                                                                           All Clinical Coordinators positions were filled by May 2022. A workflow was developed in
                                                                                                         DFPS to assign clinical coordination services to all youth in
                                                                                                                                                                                     DFPS       Complete   conjunction with the Interagency Team. In February 2023, Clinical Coordinators were moved
                                                                                                         unlicensed care. (Recommendation 3)
                                                                                                                                                                                                           under CPS Director of Conservatorship Services to align with the Placement division.
                                                                                                                                                                                                           Lead and lag measures were developed for Clinical Coordinators use regarding youth in
                                                                                                         Develop a cadence of accountability within the state interagency
                                                                                                                                                                                                           unlicensed placement. Measures have been shared with the Court Monitors. Clinical
                                                                                                         team to measure “lead and lag measures” and establish targets for           DFPS       Complete
                                                                                                                                                                                                           Coordinators have been trained on how to capture and document data regarding these
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                                                                                                         reduction of children in unlicensed care. (Recommendation 4)
                                                                                                                                                                                                           measures.
                                                                                                         The DFPS and HHSC Interagency Team should complete an analysis
                                                                                                         of the data on the more than 2100 times a child experienced an out-
                                                                                                                                                                                     DFPS       Complete   DFPS completed an analysis and report on out-of-state placements.
                                                                                                         of-state placement during the 2021 calendar year.
                                                                                                         (Recommendation 5)
                                                                                                                                                                                                           As of May 9, 2022, Community Liaisons began their work in Regions 3 (Dallas/Fort Worth
                                                                                                                                                                                                           area), 6 (Houston area), 7 (Austin/Central Texas area) and 8 (San Antonio area). The
                                                                                                                                                                                                           Community Liaisons’ primary focus was to work across sectors to educate caseworkers,
                                                                                                         Assign a DFPS Community Liaison to the four regions that have the                                 families and providers about the services and supports available to prevent a crisis. As
                                                                         Strengthen infrastructure and
                                                                                                         highest number of children without placement, to build community                                  children are moved into licensed placements, the role of the Community Liaisons includes
                                                                                accountability.
                                                                                                         capacity to prevent placements in unlicensed care and to transition         DFPS       Complete   assisting with the facilitation of discharge meetings/discharges for foster children in acute,
                                                                                                         children out of unlicensed care into safe settings. (Recommendation                               subacute and qualified residential treatment programs (QRTPs) within their respective
                                                                                                         6)                                                                                                regions. In early February 2023, the Community Liaisons and Clinical Coordinators were
                                                                                                                                                                                                           transitioned to the direct supervision of the CPS Director of Conservatorship Services – a
                                                                                                                                                                                                           move that intentionally aligned these two teams with the CPS Placement Division given their
                                                                                                                                                                                                           necessary hand-in-hand coordination.
                                                                                                                                                                                                           DFPS contracted with Deckinga Group for technical assistance in the following areas:
                                                                                                                                                                                                           • Daycare policy and practice
                                                                                                                                                                                                           • Treatment Foster Care
                                                                                                                                                                                                           • Adoption, Post-Adoption and Post Permanency
                                                                                                         Increase the capacity of the DFPS leadership team by gaining                                      • Foster Care Rate Modernization
                                                                                                         technical assistance with an external consultant (or team) with direct      DFPS       Complete   • Placement workload capacity
                                                                                                         experience in child welfare systems. (Recommendation 7)                                           • Supporting and Maintaining placement capacity
                                                                                                                                                                                                           • Quality placement transitions and
                                                                                                                                                                                                           • Agency vision for future of foster care
                                                                                                                                                                                                           The Deckinga Group and Casey Family Programs also heavily supported DFPS with efforts
                                                                                                                                                                                                           related to Kinship and the Expert Panel’s recommendations.
                                                                                                         Within 30 days, HHSC/DFPS and the state interagency team should
                                                                                                         develop a plan to expand the Turning Point Program to additional         DFPS/HHSC     Complete   Expansion Plan finalized March 2022.
                                                                                                         counties with the greatest need. (Recommendation 8)
                                                                                                         DFPS and the state interagency team should designate a pool of
                                                                                                         funds in each region that can be accessed quickly for trauma-
                                                                                                         informed services and supports to families, kin caregivers and foster
                                                                                                         parents beyond traditional outpatient therapies. In the joint                                     A request for funding was included in DFPS's Legislative Appropriation Request for the 88th
                                                                                                                                                                                  DFPS/HHSC     Complete
                                                                                                         response, the agencies stated "DFPS and HHSC (by virtue of                                        session. Appropriations are limited to SSCC’s in the amount of $1.5 million per fiscal year.
                                                                                                         participation in the interagency team) intend to implement this
                                                                                                         recommendation to the extent possible with existing resources and
                                                                                                         legislative authority." (Recommendation 9)
                                                                                                                                                                                                                                                                                                            1
                                                                                                                                           Follow Up to HHSC-DFPS Response to Expert Panel Recommendations
                                                                                                             Recommendation Referenced in February 2022 Joint                    Responsible
                                                                              Recommendations                                                                                                  Status                                           Detailed Status
                                                                                                                       Response by HHSC/DFPS                                       Agency
                                                                                                                                                                                                          DFPS has ongoing communication with providers to develop a plan for increasing the
                                                                                                                                                                                                          availability of treatment foster care. On June 9, 2022, Casey Family Programs, the Alliance
                                                                                                                                                                                                          and DFPS hosted a Treatment Foster Care Symposium to educate providers on treatment
                                                                                                                                                                                                          foster care practices and program parameters to maintain fidelity to the model. The CPS
                                                                                                        DFPS and the state interagency team should reach out to providers                                 Placement Division continues efforts to expand Treatment Foster Family Care (TFFC) services
                                                                                                        to develop a plan for increasing the availability of treatment foster                             to other interested child-placing agencies. On July 8, 2022, the TFFC Open Enrollment was
                                                                                                                                                                                    DFPS       Complete
                                                                                                        care (TFC), starting in regions with the highest number of children in                            posted. Five full applications were received from providers who did not provide TFFC services
                                                                                                        unlicensed care. (Recommendation 10)                                                              before that date. Several other providers reported being the in the process of completing the
                                                                                                                                                                                                          application. as of April 27, 2023, Texas DFPS has placed a total of 795 unique children into
                                                                                                                                                                                                          TFFC homes, including both those placed directly through the DFPS Legacy system, and
                                                                                                                                                                                                          those placed through SSCCs. There are 179 children and youth placed in TFFC homes, and
                                                                                                                                                                                                          the state has 392-bed total capacity.
                                                                                                        HHSC should identify the existing partial hospitalization programs
                                                                                                        with the highest potential for expansion and begin negotiation to                                 As of December 1, 2022, Texas Medicaid adopted managed care contractual requirements
                                                                                                        procure more slots. In the joint response, HHSC stated, "HHSC                                     that allow MCOs to provide three (3) new in-lieu-of services in phase one:
                                                                              Expand family-based       intends to explore provider capacity to expand partial hospitalization                              • Partial Hospitalization,
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                                                                         placement options and access   services that may exist across the state. To implement capacity                                     • Intensive Outpatient, and
                                                                                                                                                                                    HHSC       Complete
                                                                           to flexible non-placement    expansion, HHSC would need additional resources. Additionally,                                      • Coordinated Specialty Care (CSC) services.
                                                                                    resources.          HHSC has already requested approval from CMS for Managed Care                                     Further expansions of capacity would require additional resources. Partial hospitalization
                                                                                                        Organizations (“MCOs”), including the STAR Health MCO, to be able                                 refers to a structured day program of outpatient psychiatric services located in a hospital-
                                                                                                        to provide partial hospitalization as an in-lieu-of service (See                                  based setting.
                                                                                                        Response #18, below)." (Recommendation 11)
                                                                                                                                                                                                          The YES Waiver was renewed by CMS effective April 1,2023 and includes several changes to
                                                                                                                                                                                                          improve access to services for youth and families and expands provider qualifications. As of
                                                                                                                                                                                                          April 1, those currently on a waitlist for psychiatric or residential care, or those in DFPS
                                                                                                        HHSC should develop a plan to increase access to the YES Waiver for
                                                                                                                                                                                                          conservatorship are eligible to be served under a reserve capacity slot even if a YES Waiver
                                                                                                        youth in unlicensed care. In the joint response, HHSC stated "HHSC
                                                                                                                                                                                    HHSC       Complete   provider is at full capacity. The YES Waiver program remains actively involved in a provider
                                                                                                        intends to develop a plan to increase access to the YES waiver
                                                                                                                                                                                                          recruitment project with UTHSCSA and Dr. Matthew Brown with the goal of expanding
                                                                                                        program." (Recommendation 12)
                                                                                                                                                                                                          provider networks. HHSC has improved access to services by removing geographical barriers
                                                                                                                                                                                                          for youth engaging in telehealth services. Providers are no longer required to work within
                                                                                                                                                                                                          30/75 miles of the youth’s residence in order to serve them.
                                                                                                        Convene a provider working group with DFPS, HHSC and M.D. v.
                                                                                                                                                                                                          A working group was formed and DFPS and HHSC participated in discussions with the
                                                                                                        Abbott court monitors to begin to rebuild the relationships needed to
                                                                                                                                                                                    HHSC       Complete   provider working group. The group's work has concluded and a final report was issued on May
                                                                                                        address the immediate crisis and to create the capacity needed for
                                                                                                                                                                                                          19, 2023.
                                                                                                        the future. (Recommendation 13)
                                                                                                        Increase resources, access, and flexibility to the HHSC Residential
                                                                                                                                                                                                            • The RTC Project now allows providers to bill at the DFPS Intense Plus daily rate of
                                                                                                        Treatment Center (RTC) Project. HHSC has analyzed this
                                                                                                                                                                                                          $400.72 per day as of March 2023 which should allow additional placements from referrals
                                                                                                        recommendation and identified several short-term and
                                                                                                                                                                                                          received to reimburse providers for the services and supervision needs for higher acuity
                                                                                                        counterchallenges related to the expansion of the RTC Project. In
                                                                                                                                                                                    HHSC       Complete   children.
                                                                                                        the joint response, HHSC expressed an intent to develop a plan
                                                                                                                                                                                                            • HHSC-BHS’s TAC rule has been adopted, effective April 11, 2023.
                                                                                                        within 90 days to identify (1) specific challenges related to
                                                                                                                                                                                                            • HHSC’s request for funding to support development of a database for the RTC Project
                                                                                                        increasing resources, access, and flexibility to the RTC Project; and
                                                                                                                                                                                                          was not approved during the 88th Legislative Session.
                                                                                                        (2) options to overcome these challenges. (Recommendation 14)
                                                                                                        HHSC to explore Medicaid option for mobile crisis. Mobile crisis is an
                                                                                                        existing service currently available in Texas Medicaid through the
                                                                                                        Mental Health Rehabilitation benefit. In the joint response, HHSC
                                                                                                        stated " HHSC intends to explore the feasibility of Medicaid options                              HHSC completed a feasibility study for the Expert Panel’s MCOT recommendation and at this
                                                                                                        for mobile crisis beyond existing services. Expansion of these              HHSC       Complete   time no decision has been made to move forward. 88R appropriations to HHSC include 3
                                                                                                        services would be subject to available funding                                                    mobile crisis units ($6.0M) for children served by DFPS.
                                                                                                        and CMS approval. HHSC is also working to expand the Turning Point
                                                                                                        program that includes mobile crisis
                                                                                                        services." (Recommendation 15)
                                                                                                                                                                                                                                                                                                         2
                                                                                                                                             Follow Up to HHSC-DFPS Response to Expert Panel Recommendations
                                                                                                               Recommendation Referenced in February 2022 Joint                   Responsible
                                                                               Recommendations                                                                                                  Status                                           Detailed Status
                                                                                                                         Response by HHSC/DFPS                                      Agency
                                                                                                                                                                                                           Open enrollment began in April 2022 and was amended in August 2022 to clarify contract
                                                                                                                                                                                                           requirements. In November 2022, four applicants were selected to be awarded these grants.
                                                                                                          Accelerate efforts to implement the federal Family First Prevention                              DFPS intends to issue an additional QRTP incentive Accreditation Grant (Request for
                                                                                                          Services Act so that Texas-based providers who are ready to be                                   Applications) RFA to utilize the remaining Family First Transition Act funds at the closure of
                                                                                                                                                                                     DFPS       Complete
                                                                                                          licensed as qualified residential treatment programs (QRTPs) can                                 the current RFA, which is anticipated to be released in late Spring 2023. Two QRTP contracts
                                                                                                          launch. (Recommendation 16)                                                                      were awarded on May 18, 2023. A third QRTP contract is anticipated to be awarded in June
                                                                                                                                                                                                           2023. DFPS is in the process of completing the federal eligibility requirements for placement
                                                                                                                                                                                                           of children into one of the two available QRTP settings.
                                                                                                                                                                                                           DFPS continues to partner with providers, HHSC, and the interagency team. DFPS plans to
                                                                         Eliminate barriers and expand
                                                                                                                                                                                                           build capacity include:
                                                                         the service array for children
                                                                                                          Develop a means of recruiting and contracting for targeted                                       • Temporary Emergency Placement (TEP) Program
                                                                                 and families.
                                                                                                          placement options that meet the specific needs of children at risk of      DFPS       Complete   • Transitional Living Programs (TLP)
                                                                                                          being in unlicensed placement. (Recommendation 17)                                               • Intensive Psychiatric Stabilization Program (IPSP)
                                                                                                                                                                                                           • HB 5 Capacity Grants (23 in total, awarded to 10 CPAs and 13 GROs)
                                                                                                                                                                                                           • Additional opportunities are under consideration.
                                                                                                          HHSC should establish Medicaid expansion through continued efforts
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                                                                                                          with CMS to get Phase One Medicaid expansion services approved
                                                                                                          and available. In October 2021, HHSC requested CMS approval to
                                                                                                          implement certain Phase One services, including Partial                                          HHSC published a new Uniform Managed Care Manual (UMCM) amendment, UMCM 16.3,
                                                                                                          Hospitalization Services, Coordinated Specialty Care Services, and                               effective December 1, 2022, to allow MCOs to begin offering three in-lieu-of services: partial
                                                                                                          Intensive Outpatient Program Services. HHSC has not yet received a                               hospitalization, intensive outpatient program services, and coordinated specialty care
                                                                                                          final response to this request. HHSC was unable to agree to                                      services. HHSC surveyed MCOs and found that almost all MCOs plan to offer partial
                                                                                                                                                                                     HHSC       Complete
                                                                                                          establish in lieu of services by the proposed timeline, because the                              hospitalization and intensive outpatient services and the majority plan to offer coordinated
                                                                                                          timeline was dependent upon CMS approval. After receiving CMS                                    specialty care as in-lieu-of services. HHSC continues to work with CMS and to analyze the
                                                                                                          approval, HHSC intends to begin adopting MCO contract                                            remaining services approved by the State Medicaid Managed Care Advisory Committee
                                                                                                          amendments and ensuring other implementation steps are taken                                     (SMMCAC).
                                                                                                          including system changes, training staff, updating materials,
                                                                                                          identifying service providers, and educating providers and members.
                                                                                                          (Recommendation 18)
                                                                                                                                                                                                           DFPS and HHSC accelerated the Foster Care Modernization Project and finalized a report that
                                                                                                          Accelerate, as is allowed by law, the Foster Care Modernization
                                                                                                                                                                                  DFPS/HHSC     Complete   includes pro forma modeled rates using a new methodology, released March 6, 2023. 88R
                                                                                                          Project developed jointly by HHSC and DFPS. (Recommendation 19)
                                                                                                                                                                                                           appropriated funds with an implementation date of January 1, 2025.
                                                                                                                                                                                                           The 88R Legislative Session appropriated $31.2 million for the agency’s behavioral health
                                                                                                                                                                                                           requests:
                                                                                                                                                                                                           • $21.1M for IPSP
                                                                                                                                                                                                           • $3.0M for increasing SSCC’s mental health capacity for kinship
                                                                                                                                                                                                           • $6.0M for 3 mobile crises outreach teams for DFPS children (funding is appropriated to
                                                                                                                                                                                                           HHSC)
                                                                                                          Texas should begin immediately to identify the resources and                                     • $1.2M for DFPS’s Behavioral Health team
                                                                         Develop a statewide children’s
                                                                                                          coordination efforts needed to finally meet the mental health needs     DFPS/HHSC     Complete   • In addition to funding, HHSC is also directed to prioritize 20 inpatient beds for DFPS
                                                                         mental health system of care.
                                                                                                          of children and youth. (Recommendation 20)                                                       children
                                                                                                                                                                                                           HHSC and DFPS worked together on an improved statewide children’s mental health system
                                                                                                                                                                                                           of care. Texas System of Care (TxSOC), is a statewide framework and approach to
                                                                                                                                                                                                           strengthen state and local efforts to weave mental health supports and services into
                                                                                                                                                                                                           seamless systems of care for children, youth, young adults, and their families. DFPS added a
                                                                                                                                                                                                           Chief Strategist for Behavioral Health to lead continued efforts.
                                                                                                                                                                                                                                                                                                            3
                                                                                                                                               Follow Up to HHSC-DFPS Response to Expert Panel Recommendations
                                                                                                                Recommendation Referenced in February 2022 Joint                     Responsible
                                                                               Recommendations                                                                                                     Status                                            Detailed Status
                                                                                                                          Response by HHSC/DFPS                                        Agency
                                                                                                           DFPS should take the following steps to increase the use of and
                                                                                                           support for kinship care:
                                                                                                           • Assess current practice and policy related to relative care.
                                                                                                           • Request funds to increase rates for kinship care so they are
                                                                                                                                                                                                              Texas Family Code limits Kinship reimbursement rate to "no more than 50%" of the basic
                                                                                                           equivalent to rates for non-kin foster care.
                                                                                                                                                                                                              foster care rate (currently $27.07) per day. The historic kinship rate ($11.55 per child, per
                                                                                                           • Seek changes in policy that will allow for greater support of kinship
                                                                                                                                                                                                              day) was based on appropriations and forecasting for the foster care population. Given the
                                                                                                           families with both concrete and mental health services.
                                                                                                                                                                                                              number of youth coming into DFPS conservatorship (and thus, kinship placements) has
                                                                                                           • Get external TA to educate stakeholders, including the courts, on
                                                                                                                                                                                                              decreased, the Kinship rate was approved to increase, effective September 1, 2022, to
                                                                                                           the benefits of kinship care.
                                                                                                                                                                                                              $12.67 per child, per day.
                                                                                                           • Adopt a relative-first placement strategy and build practices to           DFPS       Complete
                                                                                                                                                                                                              DFPS participated in a collaborative Steering Committee with community partners, including
                                                                                                           support it. Develop a robust family-finding approach utilizing skilled
                                                                                                                                                                                                              HHSC, which helps connect youth in kinship placements with often needed mental and
                                                                                                           workers and supportive technology.
                                                                                                                                                                                                              behavioral health services. DFPS continues efforts to improve kinship care in Texas, including
                                                                                                           • Adopt the recommendation of the Child Protection Roundtable to
                                                                                                                                                                                                              ongoing collaboration with community partners, streamlining policies and processes that
                                                                                                           appropriate funding for a kinship caregiver support pool from the
                                                                                                                                                                                                              support kinship verification and exits from foster care with relatives when reunification is not
                                                                                                           American Rescue Plan Act funds, directing this funding “with
                                                                                                                                                                                                              appropriate.
                                                                                                           particular emphasis on kinship caregivers serving high-needs
                                                                                                           children requiring specialized services” and for providing training and
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                                                                                                           supports to these caregivers so they can provide a treatment foster
                                                                                                           care level of services. (Recommendation 21)
                                                                          Develop and strengthen child                                                                                                        DFPS consulted with multiple other state agencies and continues to seek additional family-
                                                                          welfare practice to align with                                                                                                      driven models, including engagement of community providers that support the family as the
                                                                         guiding principles and practice                                                                                                      center of the decision-making process. While DFPS continues to utilize components of Family
                                                                                     model.                DFPS should engage with an expert consultant on family team
                                                                                                                                                                                                              Group Decision Making (FGDM), including FGCs, DFPS is expanding the usage of Collaborative
                                                                                                           meetings to recalibrate and reinvigorate Texas’ use of family group
                                                                                                                                                                                                              Family Engagement (CFE). Like CFE, FGDM, places the family/community at the center of the
                                                                                                           conferencing (FGC) as a key strategy for improving engagement of             DFPS       Complete
                                                                                                                                                                                                              decision making process for the child's well-being. CFE's first family meeting can be
                                                                                                           families and safety and permanence for children. (Recommendation
                                                                                                                                                                                                              performed in conjunction with the Family Group Conference. The family and youth driven
                                                                                                           22)
                                                                                                                                                                                                              collaboration focuses on building lasting and meaningful connections, which often lead to
                                                                                                                                                                                                              placements. Even in situations where connections are not able to immediately be a
                                                                                                                                                                                                              placement option, they remain a vital support to youth in care.
                                                                                                                                                                                                              DFPS developed a plan to increase engagement. On October 25, 2022, CPS met to draft an
                                                                                                                                                                                                              action plan to increase involvement with the Parent and Kinship Collaboration Groups and the
                                                                                                                                                                                                              Youth Leadership Council. The plan outlines how CPS intends to further engage the voice of
                                                                                                                                                                                                              lived experience, including examples such as:
                                                                                                           DFPS should create an action plan to expand engagement and co-                                     • Invite Regional and State Office leadership to attend regional and statewide events to ask
                                                                                                           creation efforts with individuals with lived experience.                     DFPS       Complete   questions and get feedback from our lived experience group.
                                                                                                           (Recommendation 23)                                                                                • Include our lived experience groups on a wider range of projects, workgroups, and policies.
                                                                                                                                                                                                              • Seek input from our lived experience groups at the beginning of projects, workgroups, and
                                                                                                                                                                                                              policies that would directly impact the group they represent.
                                                                                                                                                                                                              • Send communication to close the feedback loop to our lived experience groups that are
                                                                                                                                                                                                              outside of policies, projects, and workgroups.
                                                                                                                                                                                                                                                                                                             4
